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                                       UNITED STATES DISTRICT COURT
                                        DISTRICT OF MASSACHUSETTS

     UNITED STATES

                v.                                        No. 16-mj-4117-MBB

     MARTIN GOTTESFELD                                    UNDER SEAL


                                             MOTION TO SEAL

        Pursuant to FRCP 6(e)(4), the United States asks the Court to order that the Complaint

and all accompanying documents in the above-captioned case be sealed until the defendant is in

custody, at which point the complaint will automatically become unsealed without further order

of the Court, so that it can be promptly provided to the defendant and his counsel.

        The United States further moves pursuant to General Order 06-05 that the United States

Attorney, through undersigned counsel, be provided copies of all sealed documents which the

United States has filed in this matter.




      ALLOWED David H. Hennessy U.S.M.J.               Respectfully submitted,

      Feb 16, 2016                                     CARMEN M. ORTIZ
                                                       United States Attorney


                                                  By: /s/ Adam Bookbinder
                                                      Adam J. Bookbinder
                                                      Assistant U.S. Attorney

Dated: February 16, 2016
